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Counsel for Plaintiffs
lN THE UNITED STATES DISTRICT COURT

F()R THE DISTRICT OF ALASKA

JACLYN CABALES AND JONATHAN
CABALES,

Plaintiffs,
Case NO. 3:14-cv-()()161-JWS

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)

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V. )
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ALBERT E. MORGAN, D.C., ARCT[C )
CHIR()PRACTIC BETHEL, LLC, and )
CHR[STGPHER F. TWIFORD, D.C. )
)

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Defendants,
V.

UNITED STATES OF AMERICA,

Third-Party Defendant.

 

PLAINTIFFS' MOTION FOR ENTRY OF DEFAULT JUDGMENT AGAINST
D'EFENDANT ALBERT E. MORGAN, D.C.

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Plaz`)/zz,‘z:ff$’ Motion for Entry ofDefault]L¢dgme)'zl Agai,nst DefendantA[/)erl E. Morgan, D.C.
Cabales v. Albert E. Morgan, et. al., Case NO. 3:14-cv~()00],61-JWS Page ]

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At Docket 75, this Court gave the other parties until August 21, 2015 to move to set
aside entry of default against Defendant Morgan. The Court's deadline came and went with no
Defendant or Third-Party Defendant disputing the propriety of the Superior Court's December
7, 2013 entry of default as to l\/Iorgan.] The order at Docl<et 75 then stated: "lf no motion to
set aside Morgan's default is timely filed, plaintiffs/rall move for default judgment against
Morgan within 21 days . . ."2 Pursuant to the Court‘s direction at Docl<et 75, Fed. R. Civ. P.
55(b)(2), and Local Rule 55.1, Plaintiffs hereby move for entry of an interlocutory default
judgment against Defendant l\/lorgan. This motion is supported by the attached l\/Iemorandum
and Affidavit of Myron Angstman. A proposed order is being filed for the Court's
convenience

Dat@d this _zsth_ day er August, 2015 in B@rhei, Alaska.

ANGSTMAN LAW OFFICE
Attorneys for Plaintiffs

By: s/l\/lyron Ang stman
l\/lyron Angstman

Alaska Bar No. 7410057

CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing
was served electronically this 28"‘ day of August, 2015 to;

Michael Hanson
mjh@chl<law.net

 

‘ See Superior Court Judge Dwayne W. l\/lcConnell's December '7, 2013 Order filed by the U.S.
as Docket 14-13 EXhibit Bl\/I.

2 See Docket 75 (emphasis added).
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Plai)tti]j‘$’ Motion for Entry of`DefaLtll'JLtdgme)'ztAgainst'Defenda/ttAlberZ E. Morgan, D.C.
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